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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
  In re:
                                                               Chapter 11
  PARAGON OFFSHORE PLC,
                                                               Bankr. Case No. 16-10386 (CSS)
                             Debtor.


  PARAGON LITIGATION TRUST,

                             Plaintiff,

           v.                                                  Adv. Pro. No. 17-51882 (CSS)

  NOBLE CORPORATION PLC, NOBLE
  CORPORATION HOLDINGS LTD., NOBLE
  CORPORATION, NOBLE HOLDING
  INTERNATIONAL (LUXEMBOURG) S.à r.l.,
  NOBLE HOLDING INTERNATIONAL
  (LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
  HOLDINGS LIMITED, MICHAEL A. CAWLEY,
  JULIE H. EDWARDS, GORDON T. HALL, JON A.
  MARSHALL, JAMES A. MACLENNAN, MARY P.
  RICCIARDELLO, JULIE J. ROBERTSON, and
  DAVID WILLIAMS,

                             Defendants.

               STATUS REPORT OF PLAINTIFF PARAGON LITIGATION
           TRUST REGARDING ALL PENDING APPEALS FOR BANKRUPTCY
        CASE NO. 16-10386 (CSS) AND ADVERSARY PROCEEDING NO. 17-51882 (CSS)

        On July 22, 2019, the Court entered an order requiring “counsel to the Paragon Litigation

Trust to submit a Status Report regarding the status of all pending appeals, inclusive of all

interlocutory appeals, in the above-captioned bankruptcy case and the above-captioned adversary

action.” [Dkt. No. 2193] As described in more detail below, there is one pending appeal in the

above-captioned adversary action and one pending appeal in the above-captioned bankruptcy case.

        With respect to the adversary action, on April 3, 2019, Defendants filed a Motion for Leave


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to Appeal, on an interlocutory basis, the Court’s March 19, 2019 Order and Opinion [Adv. Docket

Nos. 168, 172] denying, in part, Defendants’ Motion Pursuant to Bankruptcy Rule 7016(b) and 11

U.S.C. § 157(b)(3) for an Order Determining that the Bankruptcy Court May Only Enter Proposed

Findings of Fact and Conclusions of Law with Respect to Counts I Through VIII of the Complaint

(the “Stern Order”). [Case No. 1:19-mc-00078-LPS, Dkt. No. 1] On April 16, 2019, the Trust

filed an opposition to Defendants’ motion for leave to appeal. [Case No. 1:19-mc-00078-LPS,

Dkt. No. 2] Defendants’ motion for leave to file an interlocutory appeal of the Stern Order remains

pending.

        With respect to the bankruptcy case, Michael Hammersley (“Hammersley”), a shareholder

of Paragon Offshore plc (“Paragon”), filed the Motion of Michael R. Hammersley to Revoke the

Order (I) Authorizing Modification of the Debtors’ Fifth Joint Plan of Reorganization Under

Chapter 11 of the Bankruptcy Code Pursuant to Section 1127(b) of the Bankruptcy Code and (II)

Determining that Further Disclosure and Resolicitation of Votes are Not Required Pursuant to

Section 1127(c) of the Bankruptcy Code (the “Motion”) on December 4, 2017. [Case No. 16-

10386 (CSS), Dkt. No. 2000] The Bankruptcy Court entered an order denying the Motion on

January 11, 2018. [Case No. 16-10386 (CSS), Dkt. No. 2047] Hammersley appealed the denial

of his Motion to the District Court on January 25, 2018 (the “Appeal”). [Civ. No. 18-157-LPS,

Dkt. No. 1] Paragon filed a motion to dismiss Hammersley’s Appeal for lack of standing and

equitable mootness. [Civ. No. 18-157-LPS, Dkt. No. 18] On March 12, 2019, the District Court

granted Paragon’s motion to dismiss, finding that Hammersley lacked standing and that his Appeal

was equitably moot (the “Order”). [Civ. No. 18-157-LPS, Dkt. No. 42] On March 21, 2019,

Hammersley appealed the Order to the Third Circuit (the “Renewed Appeal”). [Civ. No. 18-157-

LPS, Dkt. No. 44] On April 5, 2019, Hammersley filed Appellant’s Motion to Reconsider


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(the “Reconsideration Motion”) with the District Court, regarding the District Court’s Order. [Civ.

No. 18-157-LPS, Dkt. No. 46] On April 8, 2019, Hammersley filed Appellant’s Motion for Leave

to File Past the Deadline Contained in Federal Rule of Bankruptcy Procedure 8022

(the “Extension Motion”).     [Civ. No. 18-157-LPS, Dkt. No. 47]        Paragon filed Appellee’s

Response to Appellant’s Motion for Leave to File Past the Deadline Contained in Federal Rule of

Bankruptcy Procedure 8022 in opposition to Hammersley’s Extension Motion, and requested that

the District Court deny the Extension Motion and the Reconsideration Motion, citing a

jurisdictional defect and lack of excusable neglect. [Civ. No. 18-157-LPS, Dkt. No. 48] On

April 10, 2019, the Third Circuit vacated the briefing schedule that it had set to consider

Hammersley’s Renewed Appeal and stayed the Renewed Appeal pending the disposition of

Hammersley’s Reconsideration Motion before the District Court. [Case No. 19-1627, Dkt. No.

003113208569] The Reconsideration Motion and the Extension Motion remain pending before

the District Court, and the Renewed Appeal remains stayed before the Third Circuit.




Dated: July 29, 2019                             Respectfully Submitted,


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